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                        Exhibit A

                Revised Proposed Sale Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

BIG LOTS, INC., et al.,                                            Case No. 24-11967 (JKS)

                 Debtors.1                                         (Jointly Administered)

                                                                    Re: D.I. 18

               ORDER (I) APPROVING THE ASSET PURCHASE
       AGREEMENT, (II) AUTHORIZING AND APPROVING THE SALE OF
   CERTAIN OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL CLAIMS,
     LIENS, RIGHTS, INTERESTS, ENCUMBRANCES, AND OTHER ASSUMED
   LIABILITIES AND PERMITTED ENCUMBRANCES, (III) AUTHORIZING AND
 APPROVING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
 CONTRACTS AND UNEXPIRED LEASES, AND (IV) GRANTING RELATED RELIEF
                                                  2
         Upon the motion (the “Motion”) of Big Lots, Inc. and certain of its affiliates, each of

which is a debtor and debtor in possession (collectively, the “Debtors”), pursuant to sections

105(a), 363, 365, 503, and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(the “Bankruptcy Code”), rules 2002, 6004, 6006, 9007, and 9008 of the Federal Rules of


1    The Debtors in these cases, together with the last four digits of their respective employer identification numbers,
     are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots Management, LLC (7948); Consolidated
     Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores - PNS, LLC (5262); Big Lots Stores, LLC
     (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182); CSC Distribution LLC (8785); Closeout
     Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400); GAFDC LLC (8673); PAFDC LLC
     (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC (9612); and Big Lots F&S, LLC
     (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-Granville Road, Columbus, OH
     43081.
2    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the APA, or to
     the extent not defined therein, the Bidding Procedures Order. For the avoidance of doubt, the “Motion” as referred
     to herein refers to the Motion of Debtors for Entry of an Order (I) Approving Bidding Procedures for Sale of
     Debtors’ Assets, (II) Approving the Stalking Horse Bid Protections, (III) Scheduling Auction for, and Hearing to
     Approve, Sale of Debtors’ Assets, (IV) Approving Form and Manner of Notices of Sale, Auction, and Sale
     Hearing, (V) Approving Assumption and Assignment Procedures, and (VI) Granting Related Relief [D.I. 18],
     which, in addition to requesting the relief granted in the Bidding Procedures Order, is deemed to have served as
     the motion requesting the relief granted in this Sale Order pursuant to Local Rule 6004-1(c). Accordingly, the
     Debtors shall not be required to file a separate motion seeking approval or authorization, as applicable, of the
     relief granted in this Sale Order, and the notice of the Motion is hereby deemed good and sufficient notice, was
     appropriate under the circumstances, and no other or further notice of the Motion, the Auction, the Sale, the Sale
     Order, and the Sale Hearing is, or shall be, required.
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         Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002‑1 and 6004-1 of the Local Rules

         for the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), for the

         entry of an order (this “Sale Order”) (a) authorizing and approving entry into that certain Asset

         Purchase Agreement, dated as of September 8, 2024 (including all exhibits, schedules, and annexes

         attached thereto, the “APA”), attached hereto as Exhibit 1, by and among Big Lots, Inc. (the

         “Seller”), each of the subsidiaries of the Seller listed in Schedule 1 of the APA (together with the

         Seller, the “Selling Entities”), and Gateway BL Acquisition, LLC, a Delaware limited liability

         company (the “Buyer”); (b) approving the sale of the Assets free and clear of any property or asset,

         any legal or equitable, specific or floating, lien (statutory or otherwise and including any “Lien”

         as defined in the Bankruptcy Code), pledge, mortgage, deed of trust, security interest, charge,

         debenture, lease, license, occupancy agreement, option, easement, Claim, restriction, preference,

         priority, right of first refusal, right of first offer, servitude, right of way, right of set off, preemptive

         right, conditional sale or other title retention agreement or installment Contract or finance lease

         with substantially the same effect, or other encumbrances affecting any right or title to the Assets

         or any part thereof or interest therein, in each case of any type, nature or kind whatsoever, whether

         secured or unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, recorded or

         unrecorded, contingent or noncontingent, material or nonmaterial, known or unknown (together,

         the “Encumbrances”) pursuant to the APA (the “Sale”); (c) approving the assumption and

         assignment of certain executory contracts and unexpired leases identified in the APA (collectively,

         and subject in each case to the amendments and other agreements that have been fully executed by

         the applicable counterparties and described in the APA and agreed with the applicable

         counterparties (the "Agreed Modifications"), the “Assigned Contracts”) pursuant to section 365 of

         the Bankruptcy Code in connection with the Sale and assignment of the Assigned Contracts to the



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         Buyer; (d) authorizing the Debtors to consummate the Sale and all other transactions related to the

         APA; and (e) granting related relief, all as more fully set forth in the Motion; and upon the

         Declaration of Adam Rifkin in Support of Motion of Debtors for Entry of Orders (I)(A) Approving

         Bidding Procedures for Sale of Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections,

         (C) Scheduling Auction for, and Hearing To Approve, Sale of Debtors’ Assets, (D) Approving

         Form and Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving Assumption

         and Assignment Procedures, (II)(A) Approving Sale of Debtors’ Assets Free and Clear of Liens,

         Claims, Interests, and Encumbrances and (B) Authorizing Assumption and Assignment of

         Executory Contracts and Unexpired Leases, and (III) Granting Related Relief [D.I. 197](the

         “Rifkin Declaration”); and this court (the “Court”) having entered on October 25, 2024, that

         certain Order (I) Approving Bidding Procedures for Sale of Debtors’ Assets, (II) Approving the

         Stalking Horse Bid Protections, (III) Scheduling Auction for, and Hearing To Approve, Sale of

         Debtors’ Assets, (IV) Approving Form and Manner of Sale, Auction, and Sale Hearing, and

         (V) Approving Assumption and Assignment Procedures [D.I. 612] (the “Bidding Procedures

         Order”); and the Bidding Procedures Order having (i) authorized the Debtors to (A) conduct, and

         approved the terms and conditions of, an auction, if applicable, as required and as set forth in the

         Bidding Procedures (as defined in the Bidding Procedures Order) (the “Auction”); (B) consider

         the highest or otherwise best offer for the Assets; and (C) establish a date for the Auction; and

         (ii) approved, among other things, (A) the Bidding Procedures to be used in connection with the

         Auction, if applicable; (B) the form and manner of notice of the Auction and Bidding Procedures;

         (C) the form of Notice of Successful Bidder (as defined herein); and (D) the form of notice and

         the procedures relating to the assumption and assignment of the Assigned Contracts (as defined in

         the APA); and the Debtors having determined, in a sound exercise of their business judgment, that



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         the Buyer made the highest or otherwise best offer for the Assets pursuant to the APA; and the

         Debtors having filed and served on parties in interest that certain Notice of (I) Successful Bidder,

         (II) Filing of Asset Purchase Agreement and Proposed Sale Order with Respect to the Sale; and

         (III) Scheduling of Sale Hearing, Objection Deadline, and Adequate Assurance Objection

         Deadline with Respect to the Sale [D.I. 661] (the “Notice of Successful Bidder”) on October 30,

         2024; and the Court having reviewed the Notice of Successful Bidder; and the Court having

         conducted a hearing on [●], 2024 (the “Sale Hearing”), at which time all parties in interest were

         offered an opportunity to be heard with respect to the Sale, to consider the approval of the Sale

         pursuant to the terms and conditions set forth in the APA, and the Court having considered (1) the

         Motion and all objections related thereto, (2) the Sale, (3) the arguments of counsel made, and

         evidence adduced related thereto, and (4) the full record in these chapter 11 cases, including the

         record related to the hearing to consider the Bidding Procedures Order (the “Bidding Procedures

         Hearing”) and the Sale Hearing held before the Court; and all parties in interest having been heard,

         or having had the opportunity to be heard, regarding the approval of the APA, the Sale, the

         transactions contemplated under the APA or in connection therewith, and the proposed assumption

         and assignment of the Assigned Contracts; and due and sufficient notice of the Sale Hearing and

         the relief sought in the Motion having been given under the particular circumstances of these

         chapter 11 cases and in accordance with the Bidding Procedures Order; and no other or further

         notice needing to be provided; and the relief requested provided for herein being in the best

         interests of the Debtors, their estates, their creditors, and other parties in interest in these chapter 11

         cases; it is hereby FOUND, CONCLUDED, AND DETERMINED THAT:3



         3
                 All findings of fact and conclusions of law announced by the Court at the Sale Hearing in relation to the
                 Motion are hereby incorporated herein to the extent not inconsistent herewith.

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                A.          Findings of Fact and Conclusions of Law. The findings and conclusions set forth

         herein constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy

         Rule 7052, made applicable to these chapter 11 cases pursuant to Bankruptcy Rule 9014. To the

         extent that any of the following findings of fact constitute conclusions of law, they are adopted as

         such. To the extent any of the following conclusions of law constitute findings of fact, they are

         adopted as such.

                B.          Jurisdiction. The Court has jurisdiction over the Motion and over the Debtors’

         property, including the Assets to be sold, transferred, and conveyed pursuant to the APA, pursuant

         to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue

         of these chapter 11 cases and the Motion in this district and Court is proper under 28 U.S.C.

         §§ 1408 and 1409.

                C.          Final Order. This Sale Order constitutes a final order within the meaning of

         28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to the extent

         necessary under Bankruptcy Rule 9014 and rule 54(b) of the Federal Rules of Civil Procedure, as

         made applicable to these chapter 11 cases through Bankruptcy Rule 7054, the Court finds that

         there is no just reason for delay in the implementation of this Sale Order and that the terms and

         conditions of this Sale Order shall be immediately effective and enforceable upon its entry. The

         Court hereby directs entry of judgment as set forth herein.

                D.          Power and Authority. The Debtors (a) have full corporate power and authority

         to execute the APA and all other documents contemplated related thereto, (b) the Debtors’ sale of

         the Assets has been duly and validly authorized by all necessary corporate action; (c) have all of

         the corporate power and authority necessary to consummate the transactions contemplated under

         the APA; and (d) have taken all corporate action necessary to authorize and approve the APA and



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         the consummation of the transactions contemplated thereunder. No consents or approvals, other

         than those expressly provided for in the APA, are required for the Debtors to consummate such

         transactions, subject to the waiver of such consents or approvals to the extent provided for in the

         APA and as may be permitted under applicable law.

                E.         Binding Agreement. The APA is a valid and binding contract between the

         Selling Entities and the Buyer and shall be enforceable pursuant to its terms. The APA was not

         entered into for the purpose of hindering, delaying, or defrauding creditors under the Bankruptcy

         Code or under the laws of the United States, any state, territory, possession, or the District of

         Columbia. Neither the Debtors nor the Buyer is entering into the transactions contemplated by the

         APA fraudulently for the purpose of statutory and common law fraudulent conveyance, fraudulent

         transfer claims, or otherwise. The APA and the Sale, and the consummation thereof, shall (i) be,

         to the extent provided in the APA, specifically enforceable against and binding upon (without

         posting any bond) the Buyer and all successors and assigns of the Buyer and each of its respective

         affiliates, successors, and assigns, the Debtors and their estates, their creditors (whether known or

         unknown) and holders of equity interests in any Debtor, any holders of Claims against or on all or

         any portion of the applicable Assets, all counterparties to the applicable Assigned Contracts, and

         any affected third‑parties, and any chapter 7 or chapter 11 trustee or receiver or trustee in

         bankruptcy appointed with respect to any of the Debtors (collectively, the “Bound Parties”) and

         (ii) not be subject to rejection or avoidance. Notwithstanding any subsequent appointment of any

         trustee, examiner, or receiver under the Bankruptcy Code or any other law, all such provisions and

         terms shall likewise be binding on such trustee, examiner, receiver, party, entity, or other fiduciary

         under the Bankruptcy Code or any other law with respect to any of the Bound Parties. The terms

         and provisions of the APA, shall survive the entry of any order that may be entered confirming or



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         consummating any chapter 11 plan of the Debtors, dismissing these chapter 11 cases, or converting

         these chapter 11 cases to cases under chapter 7. The rights and interests granted pursuant to this

         Sale Order and the APA shall continue in these or any superseding cases and shall be binding upon

         the Bound Parties and their respective successors and permitted assigns including, without

         limitation, any trustee, party, entity, or other fiduciary hereafter appointed as a legal representative

         of the Debtors under chapter 7 or chapter 11 of the Bankruptcy Code. Any trustee appointed for

         the Debtors under any provision of the Bankruptcy Code, whether the Debtors are proceeding

         under chapter 7 or chapter 11 of the Bankruptcy Code, shall be authorized and directed to perform

         under the APA and this Sale Order without the need for further order of the Court.

                F.          Property of the Estate. The Debtors are the sole and lawful owner(s) of, and

         have clear and marketable title to, the Assets. The Debtors’ right, title, and interest in and to the

         Assets constitute property of the Debtors’ estates and title thereto is vested in the Debtors’ estates

         within the meaning of section 541(a) of the Bankruptcy Code. Subject to sections 363(f) and

         365(a) of the Bankruptcy Code, the transfer of each of the Assets to the Buyer or its designee

         (collectively, the “Designated Buyer”), in accordance with the APA shall be, as of the Closing

         Date, a legal, valid, and effective transfer of the Assets, which transfer vests or shall vest the

         Designated Buyer with all right, title, and interest of the Debtors to the Assets free and clear of all

         Encumbrances (other than Assumed Liabilities and Permitted Encumbrances).

                G.          Statutory Bases for Relief. The statutory bases for the relief requested in the

         Motion and provided for herein are sections 105, 363, 365, 503, and 507 of the Bankruptcy Code,

         Bankruptcy Rules 2002, 6004, 6006, 9007, and 9008, and Local Rules 2002-1 and 6004-1.

                H.          Petition Date. On September 9, 2024 (the “Petition Date”), each of the Debtors

         filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. Since the Petition



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         Date, the Debtors have continued to maintain their businesses and manage their property as debtors

         in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

                 I.         The Auction. The Auction was conducted on October 30, 2024, pursuant to the

         Bidding Procedures. The transaction as described on the record at the Auction was properly

         identified as the Successful Bid for the Assets in the Notice of Successful Bidder filed and served

         on October 30, 2024 [D.I. 661] pursuant to the Bidding Procedures.

                 J.         Notice. As evidenced by the affidavits of service and publication previously

         filed with the Court at D.I. 275, 361, 574, 640, 648, 748, 951, and 1013, and based on the

         representations of counsel at the Sale Hearing, due, proper, timely, adequate, and sufficient notice

         of the Motion, the hearing approving the Bidding Procedures Order, the Sale Hearing, the Bidding

         Procedures Hearing, the Auction, the Sale, and the assumption and assignment of the Assigned

         Contracts to be assumed and assigned to the Buyer at Closing pursuant to this Sale Order and the

         APA has been provided in accordance with sections 102(1), 363, and 365 of the Bankruptcy Code

         and Bankruptcy Rules 2002, 6004, 9007, 9008, and 9014, and in compliance with the Bidding

         Procedures Order, to each party entitled to receive such notice. With respect to entities whose

         identities are not reasonably ascertained by the Debtors, publication of the Notice of Successful

         Bidder once in the Wall Street Journal on November 5, 2024, as evidenced by the affidavit of

         publication the Debtors filed at D.I. 1013 in these chapter 11 cases, was, and is deemed, sufficient,

         and reasonably calculated under the circumstances to reach such entities. The notices described

         herein constitute good and sufficient notice, and were appropriate under the circumstances, and no

         other or further notice of the Motion, the Auction, the Sale, this Sale Order, and the Sale Hearing

         is, or shall be, required.




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                K.         The notices provided all interested parties with timely and proper notice of the

         Motion, this Sale Order, the Sale, the Sale Hearing, the Bidding Procedures Order, the Bidding

         Procedures, the Bidding Procedures Hearing, the Auction, related deadlines and requirements, the

         assumption, assignment, and sale of the Assigned Contracts, and the other relief granted herein

         and related to the transactions contemplated under the APA.

                L.         Disclosures. The disclosures the Debtors made in the Motion, the Notice of

         Successful Bidder, and related documents filed with the Court concerning the APA, the Auction,

         the Sale, and the Sale Hearing were good, complete, and adequate.

                M.         Best Interests of the Estates, Creditors, and Parties in Interest. Given all the facts

         and circumstances of these chapter 11 cases and the adequacy and fair value of the consideration

         the Buyer shall provide to the Selling Entities under the APA, the Sale constitutes a reasonable

         and sound exercise of the Debtors’ business judgment, is in the best interests of the Debtors, their

         estates, their creditors, and other parties in interest, and should be approved.

                N.         Sound Business Purpose.          The Debtors have demonstrated compelling

         circumstances and a good, sufficient, and sound business purpose and justification for the Sale of

         the Assets outside the ordinary course of business under section 363(b) of the Bankruptcy Code

         and pursuant to the APA because, among other reasons, (a) the APA constitutes the highest or

         otherwise best offer for the Assets, (b) the APA and the closing of the Sale thereunder present the

         best available opportunity to realize the value of the Assets, and (c) any other transaction would

         not have yielded as favorable an economic result given the circumstances.

                O.         Sale and Marketing Process. The Bidding Procedures set forth in the Bidding

         Procedures Order are non-collusive, proposed and executed in good faith as a result of

         arms’‑length negotiations, designed to maximize the value of the Assets, and substantively and



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         procedurally fair to all parties.   The Debtors conducted the sale and marketing process in

         accordance with, and have otherwise complied in all respects with, the Bidding Procedures Order.

         The sale and marketing process set forth in the Bidding Procedures Order afforded a full, fair, and

         reasonable opportunity for any person or entity to make a higher or otherwise better offer to

         purchase, and to competitively bid on, the Assets relative to all other interested parties, including

         the Buyer and all other bidders that participated in the Auction. All potential purchasers had a full

         and fair opportunity to participate in the sale and marketing process and to make higher or better

         offers for the Assets relative to the Successful Bid.

                P.         Successful Bidder.     The Debtors determined, in a sound exercise of their

         business judgment and in accordance with the Bidding Procedures Order, that the Buyer’s bid

         represented the highest or otherwise best offer for the Assets. As a result, the Debtors properly

         and adequately declared the Buyer as the Successful Bidder for the Assets in the Notice of

         Successful Bidder.

                Q.         Good Faith and No Collusion. The APA was negotiated, proposed, and entered

         into by the Debtors and the Buyer without collusion, in good faith, and as the result of arm’s-length

         bargaining positions and is substantively and procedurally fair to all parties. Neither the Buyer

         nor any of the Buyer’s affiliates, officers, directors, members, partners, principals, or shareholders

         (or equivalent) or any of their respective representatives, successors, or assigns is an “insider” of

         any of the Debtors, as that term is defined in section 101(31) of the Bankruptcy Code, and no

         common identity of incorporators, directors, managers, or controlling stockholders existed

         between the Debtors and the Buyer. Neither any of the Debtors nor the Buyer has engaged in any

         conduct that would cause or permit the APA to be avoided under section 363(n) of the Bankruptcy

         Code, and the Buyer has not acted in a collusive manner with any person and the Purchase Price



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         was not controlled by any agreement among bidders. The Debtors and the Buyer have not engaged

         in any conduct that would cause or permit the APA to be avoided or damages to be assessed against

         the Buyer or any other party under section 363(n) of the Bankruptcy Code or any other applicable

         bankruptcy or non‑bankruptcy law. The Buyer is purchasing the Assets, in accordance with the

         APA, in good faith, and is a good faith purchaser within the meaning of section 363(m) of the

         Bankruptcy Code and is therefore entitled to all the protections afforded by such provision and

         otherwise has proceeded in good faith in all respects in connection with the Debtors’ chapter 11

         cases. As demonstrated by (a) the Rifkin Declaration, (b) any testimony and other evidence

         proffered or adduced at the Sale Hearing, and (c) the representations of counsel made on the record

         at the Sale Hearing, substantial marketing efforts and a competitive sale process were conducted

         in accordance with the Bidding Procedures Order and, among other things: (i) the Debtors and

         Buyer complied with the provisions in the Bidding Procedures Order; (ii) the Buyer agreed to

         subject its bid to the competitive bid procedures set forth in the Bidding Procedures Order; (iii) the

         Buyer recognized that the Debtors were free to deal with any other party interested in purchasing

         and ultimately acquiring the Assets; (iv) the Buyer in no way induced or caused the Debtors’

         chapter 11 filing; (v) all payments to be made by the Buyer and other agreements or arrangements

         entered into by the Buyer in connection with the Sale have been fully and properly disclosed; (vi)

         the Buyer has not violated section 363(n) of the Bankruptcy Code by any action or inaction;

         and (vii) the negotiation and execution of the APA, including the Sale contemplated thereby, were

         at arms’‑length and in good faith. There was and is no evidence of insider influence or improper

         conduct in any manner by the Buyer or any of its affiliates in connection with the negotiation, and

         ultimate execution, of the APA with the Debtors.




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                 R.         Highest and Best Bid and Fair Consideration. The consideration the Buyer shall

         provide to the Selling Entities pursuant to the APA (a) is fair and reasonable, (b) is the highest or

         otherwise best offer for the Assets, (c) constitutes reasonably equivalent value and fair

         consideration under the Bankruptcy Code and under the laws of the United States, any state,

         territory, possession, or the District of Columbia (including the Uniform Voidable Transactions

         Act (formally the Uniform Fraudulent Transfer Act), Uniform Fraudulent Conveyance Act, section

         548 of the Bankruptcy Code, and other similar laws), and (d) will provide a greater recovery to the

         Debtors’ estates than would be provided by any other available alternative.             Taking into

         consideration all relevant factors and circumstances, no other entity has offered to purchase the

         Assets for greater economic value to the Debtors or their estates. Therefore, following a full, fair,

         and robust sale and marketing process and the Auction, the Debtors’ determination that the APA

         constitutes the highest and otherwise best offer for the Assets and the Debtors’ selection of the

         Buyer as the Successful Bidder each constitute a valid and sound exercise of the Debtors’ business

         judgment and the Debtors’ decision to enter into the APA and consummate the transactions

         contemplated thereunder constitutes a proper exercise of the fiduciary duties of the Debtors and

         their officers and directors.

                 S.         Purchaser Not a Successor. The transactions contemplated under the APA do

         not amount to a consolidation, merger, or de facto merger of the Buyer and the Debtors and/or the

         Debtors’ estates; there is not substantial continuity between the Buyer and the Debtors; there is no

         continuity of enterprise between the Debtors and the Buyer; the Buyer is not a mere continuation

         of the Debtors or their estates; and the Buyer is not a successor or assignee of the Debtors or their

         estates for any purpose including, but not limited to, under any federal, state, or local statute or

         common law, or revenue, pension, ERISA, COBRA, tax, labor, employment, environmental



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         (including, without limitation, the Comprehensive Environmental Response Compensation and

         Liability Act, as amended), escheat, or unclaimed property laws, or other law, rule, or regulation

         (including, without limitation, filing requirements under any such laws, rules, or regulations), or

         under any products liability law or doctrine with respect to the Debtors’ liability under such law,

         rule, or regulation or doctrine or common law, or under any product warranty liability law or

         doctrine with respect to the Debtors’ liability under such law, rule or regulation, or doctrine. The

         Buyer and its affiliates shall have no liability or obligation under the Workers Adjustment and

         Retraining Act (the “WARN Act”), 929 U.S.C. §§ 210 et seq. or the Comprehensive

         Environmental Response Compensation and Liability Act, as amended or analogous foreign, state,

         or local laws and shall not be deemed to be a “successor employer” for purposes of the Internal

         Revenue Code of 1986, Title VII of the Civil Rights Act of 1964, as amended, the Age

         Discrimination in Employment Act, the Americans with Disability Act, the Family Medical Leave

         Act, the National Labor Relations Act, the Labor Management Relations Act, the Older Workers

         Benefit Protection Act, the Equal Pay Act, the Civil Rights Act of 1866 (42 U.S.C. 1981), the

         Employee Retirement Income Security Act, the Multiemployer Pension Protection Act, the

         Pension Protection Act, and/or the Fair Labor Standards Act. Except for the Assumed Liabilities

         or Permitted Encumbrances or as otherwise set forth in the APA, the (a) transfer of the Assets to

         Buyer and (b) assumption and assignment to the Buyer of the Assigned Contracts do not and shall

         not subject the Buyer to any liability whatsoever with respect to the operation of the Debtors’

         business before the Closing Date or by reason of such transfer under the laws of the United States,

         any state, territory, or possession thereof, or the District of Columbia, either directly, or based on,

         in whole or in part, directly or indirectly, any theory of law or equity, including, without limitation,

         any theory of equitable law, including, without limitation, any theory of antitrust or successor or



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         transferee liability, in each case regardless of whether such law or theory purports to apply any

         liability directly to the Buyer rather than in a successor or transferee capacity.

                T.         No Sub Rosa Plan. The Sale neither impermissibly restructures the rights of the

         Debtors’ creditors, nor impermissibly dictates the terms of a plan of reorganization of the Debtors.

         The Sale does not constitute a sub rosa or de facto plan of reorganization or liquidation.

                U.         Valid Transfer. The transfer of the Assets to the Buyer shall be as of the Closing

         Date a legal, valid, and effective transfer of such assets, and vests or shall vest the Buyer with all

         right, title, and interest to the Assets free and clear of all Encumbrances other than Assumed

         Liabilities and Permitted Encumbrances.

                V.         Free and Clear Sale. The Debtors may sell the Assets free and clear of all

         Encumbrances other than Assumed Liabilities and Permitted Encumbrances, as contemplated

         under the APA, because, in each case, one or more of the standards set forth in section 363(f)(1)‑(5)

         of the Bankruptcy Code has been satisfied. Holders of Encumbrances and non‑Debtor parties to

         Assigned Contracts that affirmatively consented to the Sale and the entry of this Sale Order (on

         the record or otherwise), or did not object, or who withdrew their objections to the Motion or the

         Sale, are deemed, subject to the terms of this Sale Order, to have consented to the Sale pursuant to

         sections 363(f)(2) and 365(c)(1) of the Bankruptcy Code and shall be forever barred and estopped

         from pursuing or asserting any right, title, claim, or interest against the Buyer or any of its

         respective assets, property, affiliates, successors, assigns, or the Assets.         All holders of

         Encumbrances are adequately protected by having their Encumbrances, if any, attach to the net

         cash proceeds the Debtors shall receive in connection with the Sale that are ultimately attributable

         to the property against or in which such Encumbrances are asserted, subject to the terms of such

         Encumbrances with the same validity, force, and effect, and in the same order of priority, which



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         such Encumbrances now have against the Assets or their proceeds, if any, subject to any rights,

         claims, and defenses the Debtors or their estates, as applicable, may possess with respect thereto.

                 W.         If the Sale were not free and clear of all Encumbrances other than Assumed

         Liabilities and Permitted Encumbrances, if the Buyer would, or in the future could, be liable for

         any Encumbrances other than Assumed Liabilities and Permitted Encumbrances, or if the Buyer

         could be liable for any liabilities related to the Debtors’ business under any law or statute that

         purports to apply to the Buyer in the first instance rather than as successor or transferee, the Buyer

         would not have entered into the APA and would not consummate the Sale, thus adversely affecting

         the Debtors, their estates, their creditors, and all other parties in interest. A sale of the Assets other

         than one free and clear of all Encumbrances other than Assumed Liabilities and Permitted

         Encumbrances would yield substantially less value for the Debtors’ estates, with less certainty,

         than the Sale. Therefore, the Sale contemplated under the APA is in the best interests of the

         Debtors, their estates, their creditors, and all other parties in interest.

                 X.         Assigned Contracts. The Debtors have demonstrated that it is an exercise of

         their sound business judgment for the Debtors to assume and assign the Assigned Contracts to the

         Designated Buyer pursuant to the terms of this Sale Order and the APA, in each case in connection

         with the consummation of the Sale, and the assumption and assignment of the Assigned Contracts

         is in the best interests of the Debtors, their estates, their creditors, and all other parties in interest.

         The Assigned Contracts being assigned to the Designated Buyer under the APA are an integral

         part of the APA and the Sale, and accordingly such assumptions and assignments are reasonable,

         fair under applicable law or rules, and enhance the value of the Debtors’ estates.

                 Y.         The Debtors and the Buyer, as applicable, have, to the extent necessary, satisfied

         the requirements of section 365 of the Bankruptcy Code, including sections 365(b)(1)(A),



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         365(b)(1)(B), and 365(f) of the Bankruptcy Code, in connection with the sale and assumption and

         assignment of the Assigned Contracts to the extent provided under this Sale Order and the APA

         and have: (a) cured any default existing prior to the date hereof under any of the Assigned

         Contracts, within the meaning of section 365(b)(l)(A) of the Bankruptcy Code; (b) provided

         compensation or adequate assurance of compensation to any party for any actual pecuniary loss to

         such party resulting from a default prior to the date hereof under any of the Assigned Contracts,

         within the meaning of section 365(b)(1)(B) of the Bankruptcy Code; and (c) have provided

         adequate assurance of future performance with respect to the Assigned Contracts, within the

         meaning of sections 365(b)(1) and 365(f)(2) of the Bankruptcy Code. The Assigned Contracts are

         assignable notwithstanding any provisions contained therein to the contrary.

                Z.          Consumer Privacy Provisions. The sale of personally identifiable information

         contemplated in the APA, if any, is consistent with the Selling Entities’ privacy policies and

         satisfies the requirements of section 363(b)(1)(A) of the Bankruptcy Code.

                AA.         Single, Integrated Transaction. The APA and Sale must be approved and the

         Closing must occur promptly to preserve the value of the Assets and the Debtors’ estates. The

         provisions of this Sale Order and the APA and the transactions contemplated under this Sale Order

         and the APA and the Sale to the Buyer are inextricably linked and technically and collectively

         constitute a single, integrated transaction.

                BB.         Consummation is Legal, Valid and Authorized. The consummation of the Sale

         is legal, valid, and properly authorized under all applicable provisions of the Bankruptcy Code,

         including, without limitation, sections 105(a), 363(b), 363(f), 363(m), 365(b), and 365(f) of the

         Bankruptcy Code, and all the applicable requirements of such sections have been complied with

         in respect of the Sale.



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                CC.        Waiver of Stay. Time is of the essence in effectuating the APA and proceeding

         with the transactions contemplated therein without interruption. Accordingly, cause exists to

         waive the stay to the extent necessary, as contemplated by Bankruptcy Rules 4001(a), 6004(h),

         and 6006(d) to permit the immediate effectiveness of this Sale Order.

                DD.        Legal and Factual Bases. The legal and factual bases set forth in the Motion and

         at the Sale Hearing establish just cause for the relief granted herein.

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

                1.      The relief requested in the Motion is granted as set forth herein.

                2.      Any and all objections and responses to the Motion that have not been withdrawn,

         waived, settled, or resolved, and all reservations of rights included therein, are hereby overruled

         and denied on the merits with prejudice.

                3.      Notice of the Motion, the Bidding Procedures Order, the Auction, the Sale Hearing,

         and the Sale was fair and equitable under the circumstances and complied in all respects with

         section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007, and 9008, the

         Local Rules, and applicable law.

                4.      The Court’s findings of fact and conclusions of law in the Bidding Procedures

         Order, including the record of the Bidding Procedures Hearing, are incorporated herein by

         reference. No appeal, motion to reconsider, or similar pleading has been filed with respect to the

         Bidding Procedures Order, and the Bidding Procedures Order is a final order of the Court, has not

         been vacated, withdrawn, rescinded, or amended and remains in full force and effect.

                                         Approval of the Sale of the Assets

                5.      The APA, including all other ancillary documents, agreements, instruments,

         notices, and papers related thereto or contemplated thereunder, and all the terms and conditions



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         thereof, and the Sale and related transactions contemplated thereunder, are hereby approved in all

         respects.

                6.      Pursuant to sections 363 and 365 of the Bankruptcy Code, the Selling Entities’ entry

         into the APA, and any other ancillary documents required in connection with Sale, is hereby

         authorized and approved as a valid exercise of their business judgment. Pursuant to sections 105,

         363, and 365 of the Bankruptcy Code, the Debtors are authorized to continue performance under

         and make all payments required by the APA (on the terms and conditions set forth herein) and all

         other ancillary documents as and when due thereunder without further order of the Court. Pursuant

         to section 363(b) of the Bankruptcy Code, the Debtors, acting by and through their agents,

         representatives, directors, and officers, are authorized and empowered to take any and all actions

         necessary or appropriate to: (a) consummate and close the Sale pursuant to and in accordance with

         the terms and conditions of this Sale Order and the APA; (b) transfer and assign all right, title, and

         interest to all property, licenses, and rights to be conveyed in accordance with the terms and

         conditions of this Sale Order and the APA; and (c) execute and deliver, perform under,

         consummate, and implement this Sale Order and the APA and all additional instruments and

         documents that may be reasonably necessary or desirable to implement this Sale Order, the APA,

         and the Sale, including any other ancillary documents, or as may be reasonably necessary or

         appropriate to the performance of the obligations as contemplated under this Sale Order, the APA,

         and any other ancillary documents. The Debtors are further authorized to pay, without further

         order of the Court, whether before, at or after the Closing, any amounts that become payable by

         the Debtors pursuant to the APA or ancillary documents (on the terms and conditions set forth

         herein), together with other fees and expenses approved by the Court. Such amounts shall: (a)

         constitute allowed administrative expenses of the Debtors’ estates under sections 503(b)(1) and



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         507(a)(2) of the Bankruptcy Code (and in the case of the payment of the Bid Protections to the

         Stalking Horse Bidder, if applicable, shall constitute superpriority administrative expenses of the

         Debtors’ estates with priority over any and all administrative expenses of any kind, including those

         specified under sections 503(b)(1) and 507(a)(2) of the Bankruptcy Code (provided that the

         priority of such superpriority administrative claims shall be junior to the Carve Out and the Wind-

         Down Budget, and shall in no circumstance be pari passu with or senior to the claims granted to

         the DIP Credit Parties or the Prepetition Secured Creditors);4 and any requirement that the Stalking

         Horse Bidder file a proof of claim for, or otherwise request allowance of, such administrative

         expense claim(s) is hereby waived; and the Debtors, in accordance with the terms of the Bidding

         Procedures Order, are authorized and directed to make payment to the Stalking Horse Bidder on

         account of such administrative expense claim(s) without need for further order of the Court); (b)

         be treated with such priority if the chapter 11 cases convert to cases under chapter 7 of the

         Bankruptcy Code; and (c) not be discharged, modified, or otherwise affected by any reorganization

         or liquidation plan for any of the Debtors, except by written agreement with the Buyer (such

         agreement to be provided in the Buyer’s sole discretion). Neither the Buyer nor the Selling Entities

         shall have any obligation to proceed with the Closing under the APA until all conditions precedent

         to their respective obligations to do so have been met, satisfied, or waived in accordance with the

         terms of the APA.




         4      Capitalized terms used in this paragraph 6, or paragraphs 19 or 63 that are not otherwise defined herein shall
                have the meanings ascribed to such terms in the Interim Order Under Bankruptcy Code Sections 105, 361,
                362, 363, 364(c-d), 503, 506, 507, and 552, and Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014
                (I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority Post-Petition Financing and (B) Use
                Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Providing
                Adequate Protection to Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting
                Related Relief (the “Interim DIP Order” and, upon entry of a final order, the “Final DIP Order” and, together
                with the Interim DIP Order, the ”DIP Orders”).

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                7.      The Debtors are authorized to cause to be filed with the secretary of state of any

         state or other applicable officials of any applicable governmental units (as defined in section

         101(27) of the Bankruptcy Code), any and all certificates, agreements, or amendments necessary

         or appropriate to effectuate the transactions contemplated by the APA, any related agreements and

         this Sale Order, including amended and restated certificates or articles of incorporation and bylaws

         or certificates or articles of amendment, and all such other actions, filings, or recordings as may

         be required under appropriate provisions of the applicable laws of all applicable governmental

         units or as any of the officers of the Debtors may determine are necessary or appropriate. The

         execution of any such document or the taking of any such action shall be, and hereby is, deemed

         conclusive evidence of the authority of such person to so act.

                8.      This Sale Order shall be binding in all respects upon the Debtors, their estates, all

         their creditors, all holders of equity interests in the Debtors, all holders of any Encumbrances

         against the Debtors, any holders of Encumbrances against or on all or any portion of the Assets,

         all counterparties to any executory contract or unexpired lease of the Debtors, the Buyer and all

         agents, representatives, affiliates, and permitted successors and assigns of the Buyer, and any

         trustees, examiners, or other fiduciary under any section of the Bankruptcy Code, if any,

         subsequently appointed in these chapter 11 cases or upon a conversion to chapter 7 under the

         Bankruptcy Code of the Debtors’ bankruptcy cases. The terms and provisions of the APA and this

         Sale Order shall inure to the benefit of the Debtors, their estates, their creditors, the Buyer and all

         agents, representatives, affiliates, and permitted successors and assigns of the Buyer, and any other

         affected third parties, including all persons asserting any Encumbrances in the Assets to be sold to

         the Buyer pursuant to the APA, notwithstanding any subsequent appointment of any trustee(s),

         party, entity, or other fiduciary under any section of any chapter of the Bankruptcy Code, as to



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         which trustee(s), party, entity, or other fiduciary such terms and provisions likewise shall be

         binding. This Sale Order shall survive any dismissal or conversion of any of these chapter 11

         cases or any dismissal of any subsequent chapter 7 cases. Nothing contained in any chapter 11

         plan of reorganization or liquidation confirmed in any of these chapter 11 cases, any order

         confirming any such chapter 11 plan of reorganization or liquidation or any order approving the

         wind-down or dismissal of any of these chapter 11 cases or any subsequent chapter 7 cases

         (including any discharge of Claims thereunder) or otherwise shall alter, conflict with, or derogate

         from the provisions of this Sale Order or the APA, and to the extent of any conflict or derogation

         between this Sale Order or the APA and such future plan or order, the terms of this Sale Order and

         the APA shall control. To the extent of any conflict between the terms of this Sale Order and the

         APA, except as otherwise set forth in this Sale Order, the terms of this Sale Order shall control.

                                          Sale and Transfer of the Assets

                9.      Pursuant to sections 105(a), 363(b), 363(f), 365(b), and 365(f) of the Bankruptcy

         Code, the Debtors are authorized to transfer the Assets to the Designated Buyer in accordance with

         the APA, and such transfer shall constitute a legal, valid, binding, and effective transfer of such

         Assets and shall vest the Designated Buyer with title in and to the Assets and, other than the

         Assumed Liabilities or Permitted Encumbrances, the Designated Buyer shall take title to and

         possession of the Assets free and clear of all Encumbrances (other than Assumed Liabilities and

         Permitted Encumbrances) and other interests of any kind or nature whatsoever, including, but not

         limited to, “bulk sale” rules (or similar laws) and theories of successor or successor‑in‑interest

         liability regardless of whether such theory, rule, or law would purport to provide for the Designated

         Buyer’s direct liability rather than merely as a successor of the Selling Entities and claims in

         respect of the Excluded Liabilities, with all such Encumbrances and other interests to attach to the

         net cash proceeds the Debtors receive in connection with the Sale that are ultimately attributable

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         to the property against or in which such Encumbrances are asserted, subject to the terms of such

         Encumbrances with the same validity, force, and effect, and in the same order of priority, which

         such Encumbrances now have against the Assets or their proceeds, if any, subject to any rights,

         claims, and defenses the Debtors or their estates, as applicable, may possess with respect thereto.

         Those holders of such Encumbrances, counterparties to Assigned Contracts, and other parties in

         interest that did not object (or that ultimately withdrew their objections, if any) to the Sale are

         deemed to have consented to such Sale being free and clear of all Encumbrances (other than

         Assumed Liabilities and Permitted Encumbrances) pursuant to sections 363(f)(2) and 365(c)(1) of

         the Bankruptcy Code, or fall within one or more of the other subsections of section 363(f) of the

         Bankruptcy Code and are therefore adequately protected by having their Encumbrance, claim,

         right, interests, or otherwise that constitute interests in the Assets, if any, attach solely to the

         proceeds of the Sale ultimately attributable to the property in which they have an interest, in each

         case with the same validity, force and effect that such holders had prior to the entry of this Sale

         Order, and subject to any claims and defenses of the Debtors. Neither the process by which any

         of the Assets were sold, nor the results of such Sale in the APA (as opposed to selling the Assets

         to any other party), create claims of any kind against either the Designated Buyer or the Debtors,

         including, without limitation, claims of any kind under any of the Debtors’ executory contracts or

         unexpired leases, and no claims arising out of the sale process or the Sale shall be brought against

         the Designated Buyer or the Debtors.

                10.     Pursuant to the APA, the sale of the Avoidance Actions described in Section

         2.01(b)(xviii) of the APA (excluding the right to assert setoff rights that may arise from Avoidance

         Actions in relation to any Liability that is not an Assumed Liability, which right shall be retained

         by the Debtors), and all other claims, causes of action, lawsuits, judgments, privileges,



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         counterclaims, defenses, rights of recovery, rights of setoff, rights of subrogation, and all other

         rights of any kind in each case under any other provision of the Bankruptcy Code or Applicable

         Laws, solely relating to vendors and service providers used in the Business after the Closing (the

         “Purchased Avoidance Actions”) is hereby approved. To the extent any Purchased Avoidance

         Action is not assignable to the Buyer or any of its affiliates, the Debtors, and any chapter 11 or

         chapter 7 trustee (or any other designee) of any of the Debtors and their estates, shall be prohibited

         from bringing any such Purchased Avoidance Actions.

                11.     Unless otherwise expressly included in the definition of “Assumed Liabilities” or

         “Permitted Encumbrances” in the APA, the Designated Buyer shall not be responsible for any

         Encumbrances, including, for the avoidance of doubt, any Claims (as defined in section 101(5) of

         the Bankruptcy Code).

                12.     Notwithstanding anything to the contrary in this Sale Order or the APA, with

         respect to each Assigned Contract, from and after the date that such Assigned Contract is assumed,

         assigned and sold to the Designated Buyer, the Designated Buyer shall be responsible for

         continuing obligations under such Assigned Contract, cum onere after giving effect to the Agreed

         Modifications, if any, including, without limitation, liabilities for any breach of or default under

         such Assigned Contract, in each case arising or occurring after such assumption, assignment and

         sale, and for payment or performance of any and all obligations under such Assigned Contract

         arising after such assumption, assignment and sale when due in accordance with the terms of such

         Assigned Contract, including with respect to year-end adjustment and reconciliation amounts that

         become due or accrue after the entry of this Sale Order (irrespective of whether such obligations

         accrued before, on, or after assumption, assignment and sale of the Assigned Contract), including

         for royalties, rents, utilities, taxes, indemnification, insurance, fees, common area or other



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         maintenance charges, promotional funds, and percentage rent, in each case subject to the terms

         and conditions of the Assigned Contract, and subject to any defenses provided by such Assigned

         Contract and applicable non-bankruptcy law and unless otherwise agreed.

                 13.     On the Closing Date, this Sale Order shall be construed and shall constitute for any

         and all purposes a full and complete general assignment, conveyance, and transfer of all of the

         Assets or a bill of sale transferring the Debtors’ good and marketable title in such Assets to the

         Designated Buyer pursuant to the terms set forth in this Sale Order and the APA. This Sale Order

         is and shall be effective as a determination that, on the Closing Date, all Encumbrances or other

         interest of any kind or nature whatsoever existing as to the Assets prior to the Closing Date, other

         than the Assumed Liabilities or Permitted Encumbrances, shall have been unconditionally

         released, discharged, and terminated, and that the conveyances described herein have been

         affected. This Sale Order shall be binding upon and govern the acts of all persons and entities,

         including, without limitation, all filing agents, filing officers, title agents, title companies,

         recorders of mortgages, recorders of deeds, registrars of deeds, administrative agencies,

         governmental departments, secretaries of state, federal, state, and local officials, and all other

         persons and entities who may be required by operation of law, the duties of their office, or contract,

         to accept, file, register, or otherwise record or release any documents or instruments, or who may

         be required to report or insure any title or state of title in or to any lease, and each of the foregoing

         persons and entities is hereby directed to accept for filing any and all of the documents and

         instruments necessary and appropriate to consummate the transactions contemplated by the APA.

         A certified copy of this Sale Order may be filed with the appropriate clerk and/or recorded with

         the recorder to act to cancel any Encumbrances and other interests of record except those assumed

         as Assumed Liabilities or Permitted Encumbrances.



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                 14.     Subject to the terms and conditions of this Sale Order, the transfer of the Assets to

         the Designated Buyer pursuant to the APA and the consummation of the Sale and any related

         actions contemplated thereby do not require any consents other than as specifically provided for

         in this Sale Order and the APA, constitute a legal, valid, and effective transfer of the Assets, and

         shall vest the Designated Buyer with right, title, and interest in and to the Assets as set forth in this

         Sale Order and the APA, as applicable, free and clear of all Encumbrances other than Assumed

         Liabilities and Permitted Encumbrances.

                 15.     All entities that are presently, or on the Closing may be, in possession of some or

         all of the Assets to be sold, transferred, or conveyed (wherever located) to the Designated Buyer

         pursuant to this Sale Order and the APA are hereby directed to surrender possession of the Assets

         to the Designated Buyer on the Closing Date.

                 16.     Upon Closing, if any person or entity that has filed financing statements, mortgages,

         mechanic’s liens, lis pendens, or other documents or agreements evidencing Encumbrances (other

         than Assumed Liabilities and Permitted Encumbrances) against or in the Assets shall not have

         delivered to the Debtors prior to the Closing, in proper form for filing and executed by the

         appropriate parties, termination statements, instruments of satisfaction, releases of all

         Encumbrances (other than Assumed Liabilities and Permitted Encumbrances) that the person or

         entity has with respect to the Assets, then (a) the Debtors may request that the applicable person

         or entity execute and file such termination statements, releases, instruments of satisfaction, or other

         documents with respect to the Assets, and, to the extent such person or entity fails to do so, may

         execute and file such statements, instruments, releases and other documents on behalf of the person

         or entity with respect to the Assets, and (b) the Designated Buyer is hereby authorized to file,

         register, or otherwise record a certified copy of this Sale Order, which, once filed, registered, or



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         otherwise recorded, shall constitute conclusive evidence of the release of all Encumbrances against

         or in the Assets of any kind or nature (other than Assumed Liabilities and Permitted

         Encumbrances). For the avoidance of doubt, upon Closing, the Designated Buyer is authorized to

         file termination statements, lien terminations, or other amendments in any required jurisdiction to

         remove and record, notice filings or financing statements recorded to attach, perfect, or otherwise

         notice any Encumbrances that are extinguished or otherwise released pursuant to this Sale Order

         under section 363 of the Bankruptcy Code and the related provisions of the Bankruptcy Code.

         Notwithstanding the foregoing, the provisions of this Sale Order shall be self‑executing and neither

         the Debtors nor the Buyer (or its designee) shall be required to execute or file releases, termination

         statements, assignments, consents, or other instruments to effectuate, consummate, and implement

         the provisions of this Sale Order.

                17.     Except for the Assumed Liabilities or Permitted Encumbrances, neither the Buyer

         nor any of its assigns shall have any liability or other obligation of the Debtors arising under or

         related to any of the Assets, including, but not limited to, any liability for any Encumbrances,

         whether known or unknown as of the Closing, now existing or hereafter arising, whether fixed or

         contingent, with respect to the Debtors or any obligations of the Debtors, including, but not limited

         to, liabilities on account of any taxes arising, accruing, or payable under, out of, in connection

         with, or in any way relating to the operation of the Debtors’ business prior to the Closing Date.

                18.     Except to the extent included in Assumed Liabilities or Permitted Encumbrances,

         or to enforce the APA, all persons and entities, including all lenders, debt security holders, equity

         security holders, governmental, tax, and regulatory authorities, parties to executory contracts and

         unexpired leases, contract counterparties, customers, licensors, litigation claimants, employees and

         former employees, dealers and sale representatives, and trade or other creditors holding



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         Encumbrances against or in the Debtors and their estates or the Assets arising under or out of, in

         connection with, or in any way relating to, the transfer of the Assets to the Designated Buyer, or

         any entities or individuals asserting any interests in the Assets, hereby are forever barred, estopped,

         and permanently enjoined from asserting any Encumbrances against the Buyer, the permitted

         successors and assigns of the Buyer, the property of the Buyer or its permitted successors and

         assigns, or the Assets including, without limitation, the following actions: (a) commencing or

         continuing in any manner any action or other proceeding against Buyer, its successors and assigns,

         assets, or properties; (b) enforcing, attaching, collecting, or recovering, in any manner, any

         judgment, award, decree, or order against the Buyer, its successors and assigns, or their assets or

         properties; (c) creating, perfecting, or enforcing any Encumbrance, lien, claim, or interest against

         the Buyer, its successors and assigns, their assets, or their properties; (d) asserting any setoff, right

         of subrogation, or recoupment of any kind against any obligation due the Buyer or its successors

         and assigns; (e) commencing or continuing any action, in any manner or place, that does not

         comply or is inconsistent with the provisions of this Sale Order or other orders of the Court, or the

         agreements or actions contemplated or taken in respect thereof; or (f) revoking, terminating, or

         failing or refusing to transfer or renew any license, permit, or authorization to operate any of the

         Assets or conduct any of the businesses operated with the Assets.

                 19.     As of and after the Closing, any and all valid and perfected liens or interests in the

         Assets shall attach to any proceeds of the Sale immediately upon receipt of such proceeds by the

         Debtors in the order of priority, and with the same validity, force and effect which they now have

         against such Assets, subject to any rights, claims, and defenses of the Debtors, the Debtors’ estates

         or any trustee for any Debtor, or any statutory committee or any party (to the extent any such

         rights, claims, and defenses exist), as applicable, may possess with respect thereto; provided,



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         however, that setoff rights shall be extinguished to the extent there is no longer mutuality after the

         consummation of the Sale. At the Closing, the Debtors shall transfer, or cause to be transferred,

         proceeds generated from the sale of the Assets contemplated herein to the DIP Agents and the

         Prepetition Agents, as applicable, which shall be in an amount not less than necessary to fully fund

         the following two items and shall be applied as follows: (i) first, to fully fund the Carve Out

         Reserves in accordance with the DIP Orders (whereupon such funding, the DIP Credit Parties and

         Prepetition Secured Creditors shall have no further obligation to fund the Carve Out Reserves);

         and (ii) second, for permanent application against the DIP Obligations and the Prepetition Secured

         Obligations in accordance with the terms and conditions of the DIP Orders and the DIP Loan

         Documents until the DIP Obligations and the Prepetition Secured Obligations have been Paid in

         Full (which for the avoidance of doubt includes amounts used to fund the Carve Out in item (i)).

                20.     Neither the Buyer nor its affiliates, successors, and assigns, shall have nor incur

         any liability to, or be subject to, any action by any Debtor or any of its predecessors, successors,

         or assigns, arising out of the negotiation, investigation, preparation, execution, or delivery of the

         APA, the Transaction Documents, and the entry into and consummation of the Sale, except as

         expressly provided in the APA and this Sale Order.

                21.     To the greatest extent available under applicable law, the Designated Buyer shall

         be authorized, as of the Closing Date, to operate under any license, permit, registration, and

         governmental authorization or approval of the Debtors with respect to the Assets to the extent

         transferred in the APA, and all such licenses, permits, registrations, and governmental

         authorizations and approvals are deemed to have been transferred to the Designated Buyer as of

         the Closing Date. To the extent provided by section 525 of the Bankruptcy Code, no governmental

         unit may deny, revoke, suspend, or refuse to renew any permit, license, or similar grant relating to



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         the operation of the Assets on account of the filing or pendency of these chapter 11 cases or the

         consummation of the transactions contemplated by the APA, including the Sale and the assumption

         and assignment of the Assigned Contracts. To the extent any license or permit necessary for the

         operation of the business of the Debtors is determined not to be an executory contract assumable

         and assignable under section 365 of the Bankruptcy Code or otherwise transferable to the

         Designated Buyer, the Designated Buyer may apply for and obtain any necessary license or permit

         promptly and the Debtors are hereby authorized to cooperate with the Designated Buyer in

         connection with any such application as the Designated Buyer deems reasonably necessary or

         desirable, pursuant to the provisions of the Designated Buyer.

                22.     All persons and entities are hereby forever prohibited and enjoined from taking any

         action that would adversely affect or interfere with the Debtors’ ability to sell and transfer the

         Assets to the Buyer in accordance with the terms of the APA and this Sale Order.

                23.     The Buyer has given substantial and fair consideration under the APA for the

         benefit of the Debtors, their estates, and their creditors. The Buyer’s consideration for the Assets

         under the APA shall constitute valid and valuable consideration for the releases of any potential

         Encumbrances pursuant to this Sale Order, which releases shall be deemed to have been given in

         favor of the Buyer by all holders of Encumbrances or liens against or interests in, or claims against,

         any of the Debtors or any of the Assets, other than with respect to the Assumed Liabilities or

         Permitted Encumbrances. The Buyer’s consideration for the Assets under the APA is fair and

         reasonable and may not be avoided under section 363(n) of the Bankruptcy Code.

                   Executory Contracts and Unexpired Leases to be Assumed and Assigned

                24.     Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, and subject to

         and conditioned upon the occurrence of the Closing Date, the Debtors’ assumption and assignment

         to the Buyer, and the Buyer’s assumption, on the terms set forth in this Sale Order and the APA,

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         of the Assigned Contracts, is hereby approved in its entirety, and the requirements of section 365

         of the Bankruptcy Code with respect thereto are hereby deemed satisfied.

                25.     The Debtors are hereby authorized in accordance with sections 105(a), 363, and

         365 of the Bankruptcy Code to assume and assign to the Designated Buyer, effective upon the

         Closing Date, the Assigned Contracts free and clear of all Encumbrances other than Assumed

         Liabilities and Permitted Encumbrances and execute and deliver to the Designated Buyer such

         documents or other instruments as may be necessary to assign and transfer the Assigned Contracts

         to the Designated Buyer.

                26.     Upon the Closing, in accordance with sections 363 and 365 of the Bankruptcy

         Code, the Designated Buyer shall be fully and irrevocably vested in all right, title, and interest in

         and of each Assigned Contract. The Debtors and all counterparties to the Assigned Contracts shall

         cooperate with, not charge for, and take all actions reasonably requested by, the Designated Buyer

         to effectuate the foregoing, as further provided in the APA. The Designated Buyer shall likewise

         cooperate with the Debtors and all counterparties to the Assigned Contracts to effectuate the

         forgoing pursuant to the APA.

                27.     Notwithstanding any term of any Assigned Contract to the contrary, any extension

         or renewal options or other rights contained in such Assigned Contract that purport to be personal

         only to, or exercisable only by, the Debtors, a named entity, or an entity operating under a specific

         trade name, may, in each case, be freely exercised to their full extent by the applicable Designated

         Buyer, subject to the other applicable terms of the Assigned Contract. Any extension or renewal

         options in connection with all Assigned Contracts that the Debtors validly exercised prior to the

         entry of this Sale Order, and all terms of the Assigned Contracts are in full force and effect and




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         have not been previously rejected, and the Debtors’ time to assume or reject the Assigned Contracts

         has not otherwise expired.

                28.     The Assigned Contracts shall be transferred to, and remain in full force and effect

         for the benefit of, the Designated Buyer in accordance with their respective terms, notwithstanding

         any provision in any such Assigned Contract (including those of the type described in

         sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions such

         assignment or transfer, or requires any counterparty to consent to assignment.

                29.     Notwithstanding any term of any Assigned Contract to the contrary, the Buyer shall

         be authorized to (a) use the leased premises, (b) operate its business at the leased premises, (c)

         make such alterations and modifications to the interior and exterior of the leased premises

         (including signage, together with appropriate changes to existing tenant signage in the respective

         shopping center, including signage affixed to the building panels on all directional and other

         ground and off-premises signs where the Debtors are presently represented) as are determined by

         the Buyer to be necessary to operate its business at such leased premises, and (d) exercise, utilize,

         or take advantage of any renewal options and any other current or future rights, benefits, privileges,

         and options granted or provided to the Debtors in or under any Assigned Contract.

                30.     Notwithstanding anything to the contrary contained herein or in the APA, any

         Assigned Contract for which there is an unresolved adequate assurance or cure objection shall not

         be assumed, assigned, and sold unless (a) all such objections relating to such executory contract

         or unexpired lease are withdrawn, (b) the counterparty to such executory contract or unexpired

         lease consents in writing (email being sufficient), or (c) the Court subsequently orders otherwise

         (each a “Resolution Event”). For the avoidance of doubt, if no Resolution Event occurs with

         respect to any Assigned Contract(s) that are subject to a pending objection in accordance with this



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         paragraph, such Assigned Contract(s) shall automatically be deemed an Excluded Contract (as

         defined in the APA) without the need for further order of the Court or amendments to the APA.

         Accordingly, unless an adequate assurance or cure objection with respect to the Buyer was filed

         and served before the applicable deadline (a “Filed Objection”), the applicable Counterparty is

         forever barred from objecting to (i) the Cure Costs and from asserting any additional cure or other

         amounts with respect to the applicable Assigned Contract in the event it is assumed and/or

         assigned, except to the extent such Cure Costs further accrue (being subject to further credits,

         debits, and adjustments in accordance with the terms of the applicable underlying Assigned

         Contract) following the Debtors’ filing of the applicable assumption and assignment notice or (ii)

         adequate assurance of future performance by the Buyer.

                31.     Pursuant to sections 365(b)(1)(A)–(B) of the Bankruptcy Code, at the Closing, the

         Debtors shall pay to the respective counterparty the Cure Costs relating to any Assigned Contract.

                32.     All defaults or other obligations of the Debtors under the Assigned Contracts

         arising or accruing prior to the Closing (without giving effect to any acceleration clauses or any

         default provisions of the kind specified in section 365(b)(2) of the Bankruptcy Code) shall be cured

         on the Closing Date or as soon thereafter as reasonably practicable through the Debtors’ payment

         of the Cure Costs. To the extent that any counterparty to an Assigned Contract did not object to

         its Cure Cost by the Cure Objection Deadline, such counterparty is deemed to have consented to

         such Cure Cost and the assumption and assignment of its respective Assigned Contract(s) to the

         Buyer in accordance with the APA.

                33.     Upon the Debtors’ assignment of the Assigned Contracts to the Designated Buyer

         under the provisions of this Sale Order and any additional orders of the Court and payment of any

         Cure Costs by the Debtors, no counterparty to any Assigned Contract shall be permitted (a) to



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         declare a default by the Designated Buyer under such Assigned Contract or (b) otherwise take

         action against the Designated Buyer as a result of Debtors’ financial condition, bankruptcy, or

         failure to perform any of their obligations under the relevant Assigned Contract. Each non-Debtor

         party to an Assigned Contract hereby is also forever barred, estopped, and permanently enjoined

         from (a) asserting against the Debtors or the Designated Buyer, or the property of any of them, any

         default or claim arising out of any indemnity obligation or warranties for acts or occurrences

         arising prior to or existing as of the Closing, including those constituting Excluded Liabilities or,

         against the Designated Buyer, any counterclaim, defense, setoff, recoupment, or any other Claim

         asserted or assertable against the Debtors and (b) imposing or charging against the Designated

         Buyer any rent accelerations, assignment fees, increases, or any other fees as a result of the

         Debtors’ assumption and assignment to the Designated Buyer of any Assigned Contract in

         accordance with the APA. The validity of such assumption and assignment of each Assigned

         Contract shall not be affected by any dispute between the Debtors and any non-Debtors party to

         an Assigned Contract relating to such contract’s respective Cure Costs.

                34.     Except as otherwise agreed in writing between the Debtors and the non-Debtor

         parties to the Assigned Contracts or stated on the record of the Sale Hearing, the Cure Costs to be

         paid by the Debtors for the Assigned Contracts are hereby fixed at the amounts set forth on

         Exhibit 2 attached to this Sale Order, and the non-Debtor parties to such Assigned Contracts are

         forever bound by such Cure Costs and, upon payment of such Cure Costs, are hereby enjoined

         from taking any action against the Debtors and their bankruptcy estates, the Buyer and all agents,

         representatives, affiliates, and permitted successors and assigns of the Buyer, or the Assets with

         respect to any claim for cure under any Assigned Contract.




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                35.     The payment of the applicable Cure Costs (if any) shall effect a cure of all defaults

         existing as of the date that such Assigned Contracts are assumed and compensate for any actual

         pecuniary loss to such non-Debtor party resulting from such default.

                36.     The Designated Buyer shall have assumed the Assigned Contracts, and pursuant to

         section 365(f) of the Bankruptcy Code, the assignment by the Debtors of such Assigned Contracts

         shall not be a default thereunder. After the payment of the relevant Cure Costs, neither the Debtors

         and their bankruptcy estates nor the Designated Buyer shall have any further liabilities to the non-

         Debtor counterparties to the Assigned Contracts, other than the Designated Buyer’s obligations

         under the Assigned Contracts that accrue after the date that such Assigned Contracts are assumed

         and/or assigned, as the case may be.

                37.     Any provisions in any Assigned Contracts that prohibit or condition the assignment

         of such Assigned Contract or allow the party to such Assigned Contract to terminate, recapture,

         impose any penalty, condition on renewal or extension or modify any term or condition upon the

         assignment of such Assigned Contract constitute unenforceable anti-assignment provisions that

         are void and of no force and effect. All other requirements and conditions under sections 363 and

         365 of the Bankruptcy Code for the assumption by the Debtors and assignment to the Buyer of the

         Assigned Contracts have been satisfied.

                38.     To the furthest extent permitted by law, any party having the right to consent to the

         assumption or assignment of any Assigned Contract that failed to object to such assumption or

         assignment is deemed to have consented to such assumption and assignment as required by section

         365(c) of the Bankruptcy Code, and shall be barred from objecting, or asserting monetary or non-

         monetary defaults, with respect to any such Assigned Contract.




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                39.     From the date of the entry of this Sale Order, the Debtors may, in consultation with

         the Buyer, settle objections to assumption and assignment of any Assigned Contract, including to

         proposed Cure Amounts, without any further notice to or action by any party or order of the Court

         (including by paying any agreed Cure Amount); provided that notice to and consent of the Buyer

         shall be required to the extent the Buyer is liable for such Cure Amount pursuant to the APA as

         modified by this Sale Order. Subject to and in accordance with the terms of the APA and unless

         the Court orders otherwise, contemporaneously with the resolution of any such objection, the

         executory contract or unexpired lease underlying such objection shall be deemed an Assigned

         Contract to the Buyer without the necessity of obtaining any further order of the Court.

                40.     Nothing in this Sale Order, the Motion, or any notice relating to the assumption and

         assignment of the Assigned Contracts, is or shall be deemed an admission by the Debtors that any

         contract is an executory contract or must be assumed and assigned pursuant to the APA or in order

         to consummate the Sale.

                41.     The Buyer shall be deemed to be substituted for the Debtors as a party to the

         applicable Assigned Contracts, and the Debtors and their bankruptcy estates shall be relieved,

         pursuant to section 365(k) of the Bankruptcy Code, from any further liability under the Assigned

         Contracts.

                42.     The failure of the Debtors or the Buyer to enforce at any time one or more terms or

         conditions of any Assigned Contract shall not be a waiver of such terms or conditions, or of the

         Debtors’ and the Buyer’s rights to enforce every term and condition of the Assigned Contracts.

                43.     The Buyer has provided adequate assurance of future performance under the

         Assigned Contracts within the meaning of sections 365(b)(1)(C), 365(b)(3) (to the extent

         applicable), and 365(f)(2)(B) of the Bankruptcy Code.



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                44.     Neither the Buyer nor any permitted successor or assign of the Buyer shall be

         responsible for or have any Encumbrances or obligations arising out of any of the Excluded

         Contracts (except as specifically provided by the APA or this Sale Order).

                45.     Notwithstanding anything herein to the contrary and subject to the APA, prior to

         the Closing Date, the Debtors may remove any contract or lease from the list of Assigned Contracts

         (and thereby exclude such Contract from the definition of Assigned Contracts) pursuant to the

         procedures set forth in the APA. To the extent applicable, the Debtors shall file a schedule of the

         final Assigned Contracts reasonably promptly after the Closing Date.

                46.     Pursuant to the Bidding Procedures Order, in the event that a 365 Contract (as

         defined in the APA) was not listed on the Proposed Assumed Contracts Schedule, such

         Counterparty shall have 14 days after the date on which the applicable Supplemental Assumption

         and Assignment Notice is filed with the Court and served on the applicable Counterparty (the

         “Supplemental Additional Contract Cure Objection Deadline”) to (a) object to the applicable

         proposed Cure Costs for such 365 Contract and the assumption and assignment of such 365

         Contract (the “Supplemental Additional Cure Cost Objection”) and (b) serve the Supplemental

         Additional Contract Cure Cost Objection (by email or overnight mail) so that is actually received

         by counsel for the Debtors and the Buyer on or before the Supplemental Additional Contract Cure

         Objection Deadline.

                47.     In the event that a 365 Contract was listed on the Proposed Assumed Contracts

         Schedule and was the subject of a Filed Objection, the applicable Counterparty that filed such

         Filed Objection shall be limited to objecting (a) on the basis set forth in their Filed Objection, (b)

         on a basis which could not have been the subject of a Filed Objection at the time of such Filed




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         Objection, or (c) on the basis of the adequate assurance information provided regarding the

         applicable assignee.

                48.     During the Designation Rights Period, the Buyer may designate any 365 Contract

         for assumption and assignment in accordance with the terms of the Bidding Procedures Order (in

         such instance, a “Designated Lease”), the APA and this Sale Order. In such event, the Debtors

         shall file with the Court and serve on the applicable Counterparty a Designated Lease Notice. If

         the proposed assignee is not the Buyer, the Debtors shall also deliver to the applicable Counterparty

         (and deliver by email to counsel for the applicable Counterparty, if such counsel has filed a notice

         of appearance) evidence of adequate assurance of future performance within the meaning of

         section 365 of the Bankruptcy Code with respect to the applicable Designated Lease that is

         proposed to be assumed and assigned to such assignee.

                49.     Each Designated Lease Notice will set forth the following information: (a) the

         street address of the real property that is the subject of such 365 Contract; (b) the name and address

         of the Counterparty (and their counsel, if known); (c) a description of the deadline and procedures

         for filing objections to the Designated Lease Notice; (d) the identity of the proposed assignee;

         (e) information intended to provide the Counterparty to the Designated Lease with adequate

         assurance of future performance under section 365(f)(2)(B) and, if applicable, section 365(b)(3)

         of the Bankruptcy Code; and (f) the proposed Cure Costs associated with such Designated Lease;

         provided, however, that if adequate assurance information is provided pursuant to this paragraph,

         such adequate assurance information shall be kept strictly confidential and not be used for any

         purpose other than to (a) evaluate whether adequate assurance requirements under section

         365(f)(2)(B) and, if applicable, section 365(b)(3) of the Bankruptcy Code have been satisfied, and




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         (b) to support any objection to adequate assurance provided by any party including the Buyer and

         its affiliates.

                  50.      Any party seeking to object to the assumption and assignment of any Designated

         Lease on any basis other than the Cure Costs (including, but not limited to, objections to adequate

         assurance of future performance if such Designated Lease is designated to a third party or with

         respect to the provision of adequate assurance of future performance of the Buyer if a Filed

         Objection was timely served) must (a) file a written objection in compliance with the Bankruptcy

         Rules and Local Rules (a “Designated Contract Assumption and Assignment Objection”) with the

         Court, so that such objection is filed no later than 14 days after the date on which (i) the applicable

         Designated Lease Notice is filed with the Court and (ii) evidence of adequate assurance of future

         performance required pursuant to the terms hereof is served on the applicable Counterparty (the

         “Designated Contract Assumption and Assignment Objection Deadline”); and (b) serve the

         Designated Contract Assumption and Assignment Objection (by email) so that it is actually

         received by counsel for the Debtors, the Buyer and applicable assignee on or before the Designated

         Contract Assumption and Assignment Deadline.

                  51.      If no Filed Objection has been filed, or no Designated Contract Assumption and

         Assignment Objection has been filed by the Designated Contract Assumption and Assignment

         Objection Deadline, the Debtors, the Buyer, and the applicable assignee shall submit for evaluation

         and entry by this Court, under certificate of no objection, an order approving assignment of the

         Designated Lease (such order, a “Supplemental Lease Assignment Order”). The Supplemental

         Lease Assignment Order shall provide, among other things, that upon the applicable Designated

         Assignment Date, except as otherwise expressly agreed by the applicable assignee and the

         applicable Counterparty, notwithstanding any provision in any Designated Lease that purports to



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         prohibit, restrict, or condition such action, upon the assumption and assignment of such Designated

         Lease to an assignee in accordance with the terms of the APA and any related assignment

         agreements, (x) the applicable assignee shall be authorized to: (i) use the leased premises subject

         to the Designated Lease (such premises, the “Leased Premises”) as a retail store (and related goods

         and services) upon consummation of the assumption and assignment of such Designated Lease to

         such assignee in accordance with the terms of the APA and any related assignment agreements;

         (ii) operate its business at the Leased Premises under its tradename; (iii) make such alterations and

         modifications to the interior and exterior of the Leased Premises (including signage, together with

         appropriate changes to existing tenant signage in the respective shopping center, including signage

         affixed to the building panels on all directional and other ground and off-premises signs where the

         Debtors are presently represented) as are determined by the applicable assignee to be necessary to

         conform such Leased Premises to the applicable assignee’s typical retail store; (iv) remain “dark”

         with respect to such Leased Premises after such assumption and assignment until the date that is

         necessary to permit, but no more than 270 consecutive days, such assignee to remodel, restock, re-

         fixture, change signage and/or until completion of the work described in clause (iii) above; and (v)

         exercise, utilize, or take advantage of any renewal options and any other current or future rights,

         benefits, privileges, and options granted or provided to the Debtors under such Designated Lease

         (including all of the same which may be described or designated as, or purport to be, “personal”

         to the Debtors or to a named entity in such Designated Lease or to be exercisable only by the

         Debtors or by a named entity or an entity operating under a specific trade name) and (y) neither

         the Buyer nor the applicable assignee shall have any responsibility or liability for any Excluded

         Liabilities.




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                52.     If a Filed Objection has been filed, or a Designated Contract Assumption and

         Assignment Objection is timely filed and not withdrawn or resolved, the Debtors, the applicable

         assignee, and the objecting Counterparty shall have authority to compromise, settle, or otherwise

         resolve any objections without further order of this Court. If the Debtors, the applicable assignee,

         and the objecting Counterparty determine that the objection cannot be resolved without judicial

         intervention, then the determination of the assumption and assignment of the Designated Lease

         will be determined by the Court on a date to be scheduled by any of the Debtors or the applicable

         assignee (which hearing date shall be no sooner than ten business days following the date of filing

         of the Designated Lease Notice, unless the Debtors, the Buyer, the applicable assignee, and the

         applicable Counterparty agree otherwise).

                53.     Pursuant to section 365(b)(1)(A) and (B) of the Bankruptcy Code, the Buyer shall,

         on the applicable assumption effective date for a 365 Contract, cure all nonmonetary defaults

         solely to the extent required under section 365 of the Bankruptcy Code, and pay to the applicable

         Counterparty all undisputed Cure Costs. Upon assumption and assignment of any 365 Contract,

         the Debtors and the estates shall be relieved of any liability for breach of such 365 Contract

         pursuant to section 365(k) of the Bankruptcy Code, except as expressly provided herein or in the

         APA or related agreements.

                54.     Upon the applicable assignment effective date, any provision in any 365 Contract

         that purports to declare a breach or default as a result of a change or transfer of control of any

         interest in respect of the Debtors is unenforceable and all assigned 365 Contracts that in any way

         purport to: (i) prohibit, restrict, or condition the Debtors’ assignment of such 365 Contract

         (including, but not limited to, the conditioning of such assignment on the consent of any non-

         debtor party to such 365 Contract); (ii) provide for the cancellation, or modification of the terms



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         of the 365 Contract based on the filing of a bankruptcy case, the financial condition of the Debtors,

         or similar circumstances; (iii) provide for additional payments (e.g., so called “profit”

         sharing/splitting), penalties, fees, charges, or other financial accommodations in favor of the non-

         debtor third party to such 365 Contract upon assignment thereof; or (iv) provide for any rights of

         first refusal on a Counterparty’s part, or any recapture or termination rights in favor of a

         Counterparty, or any right of a landlord to take an assignment or sub lease from a tenant, shall

         have any force or effect with respect to the grant and honoring of the Buyer’s 365 Contract

         designation rights or in accordance with this Sale Order and the APA and assignments of 365

         Contracts by the Debtors in accordance therewith or in accordance with any Supplemental Lease

         Assignment Order.

                                               Additional Provisions

                55.     Consumer Privacy Provisions. The Buyer shall be bound by and meet the material

         standards established by the Buyer’s privacy policies solely with respect to the personally

         identifiable information transferred to the Buyer pursuant to the APA; provided, however, that

         nothing in this Sale Order shall affect, limit, restrict, prohibit, or impair any right to amend or

         replace such privacy policies on a going forward basis with respect to the personally identifiable

         information transferred to the Buyer, in accordance with the terms thereof and applicable law.

                56.     Automatic Stay Relief.      The automatic stay pursuant to section 362 of the

         Bankruptcy Code is hereby lifted to the extent necessary, without further order of the Court, to

         (a) allow the Buyer to deliver any notice provided for in the APA and any ancillary documents and

         (b) allow the Buyer to take any and all actions permitted under this Sale Order, the APA and any

         ancillary documents in accordance with the terms and conditions thereof.

                57.     Buyer Not a Successor. The transactions contemplated under the APA do not

         amount to a consolidation, merger, or de facto merger of the Buyer and the Debtors and/or the

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         Debtors’ estates; there is not substantial continuity between Buyer and the Debtors; there is no

         continuity of enterprise between the Debtors and the Buyer; the Buyer is not a mere continuation

         of the Debtors or their estates; and the Buyer is not a successor or assignee of the Debtors or their

         estates for any purpose including, but not limited to, under any federal, state, or local statute or

         common law, or revenue, pension, ERISA, COBRA, tax, labor, employment, environmental

         (including, without limitation, the Comprehensive Environmental Response Compensation and

         Liability Act, as amended), escheat, or unclaimed property laws, or other law, rule, or regulation

         (including, without limitation, filing requirements under any such laws, rules, or regulations), or

         under any products liability law or doctrine with respect to the Debtors’ liability under such law,

         rule, or regulation or doctrine or common law, or under any product warranty liability law or

         doctrine with respect to the Debtors’ liability under such law, rule or regulation, or doctrine. The

         Buyer and its affiliates shall have no liability or obligation under the WARN Act, 929 U.S.C. §§

         210 et seq., or the Comprehensive Environmental Response Compensation and Liability Act, as

         amended or analogous foreign, state, or local laws and shall not be deemed to be a “successor

         employer” for purposes of the Internal Revenue Code of 1986, Title VII of the Civil Rights Act of

         1964, as amended, the Age Discrimination in Employment Act, the Americans with Disability

         Act, the Family Medical Leave Act, the National Labor Relations Act, the Labor Management

         Relations Act, the Older Workers Benefit Protection Act, the Equal Pay Act, the Civil Rights Act

         of 1866 (42 U.S.C. 1981), the Employee Retirement Income Security Act, the Multiemployer

         Pension Protection Act, the Pension Protection Act, and/or the Fair Labor Standards Act. Except

         for the Assumed Liabilities or Permitted Encumbrances, the (a) transfer of the Assets to Buyer and

         (b) assumption and assignment to Buyer of the Assigned Contracts do not and shall not subject

         Buyer to any liability whatsoever with respect to the operation of the Debtors’ business before the



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         Closing Date or by reason of such transfer under the laws of the United States, any state, territory,

         or possession thereof, or the District of Columbia, either directly, or based on, in whole or in part,

         directly or indirectly, any theory of law or equity, including, without limitation, any theory of

         equitable law, including, without limitation, any theory of antitrust or successor or transferee

         liability, in each case regardless of whether such law or theory purports to apply any liability

         directly to Buyer rather than in a successor or transferee capacity.

                58.     Bulk Transfer Laws. The Debtors and the Buyer hereby waive, and shall be deemed

         to waive, any requirement of compliance with, and any Claims including, without limitation, any

         Claims related to non-compliance with the provisions of any bulk sales rules, bulk transfer rules,

         or similar law of any jurisdiction that may be applicable regardless of whether such non-

         compliance would purport to result in Buyer being liability in its own capacity.

                59.     No Interference. Following the Closing, no holder of an Encumbrance (other than

         Assumed Liabilities and Permitted Encumbrances) in or against the Debtors and their estates or

         the Assets shall interfere with the Buyer’s title to or use and enjoyment of the Assets based on or

         related to such Encumbrance or any actions that the Debtors and their bankruptcy estates may take

         in these chapter 11 cases or any successor bankruptcy cases.

                60.     Authorization.    The Debtors, including their respective directors, managers,

         officers, employees, and agents, are hereby authorized to execute such documents and do such acts

         as are necessary or desirable to carry out the transactions contemplated by the terms and conditions

         of the APA and this Sale Order. The Debtors shall be, and they hereby are, authorized to take all

         such actions as may be necessary to effectuate the terms of this Sale Order and the relief granted

         pursuant to this Sale Order.




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                 61.     Good Faith. The Sale as contemplated by the APA is undertaken by the Buyer

         without collusion and in good faith, as that term is defined in section 363(m) of the Bankruptcy

         Code, and accordingly, the reversal or modification on appeal of the authorization provided herein

         to consummate the Sale shall not affect the validity of the Sale (including the assumption and

         assignment of the Assigned Contracts by the Buyer and the sale free and clear of all Encumbrances

         other than Assumed Liabilities and Permitted Encumbrances) unless such authorization and

         consummation of such Sale are duly stayed pending such appeal. The Buyer is a good-faith buyer

         within the meaning of section 363(m) of the Bankruptcy Code, and as such is entitled to the full

         benefits and protections of such section. As a good-faith purchaser of the Assets, the Buyer has

         not colluded with any of the other bidders, potential bidders, or any other parties interested in the

         Assets, and therefore the sale of the Assets shall not be avoided pursuant to section 363(n) of the

         Bankruptcy Code.

                 62.     Buyer Releases. Except to the extent expressly preserved pursuant to the APA or this

         Sale Order, upon the Closing Date, each of the Debtors and the Buyers (each a “Releasing Party”), to

         the fullest extent permissible under applicable law, mutually releases and discharges each other

         Releasing Party and such Releasing Parties’ respective current and former predecessors, successors,

         affiliates (regardless of whether such interests are held directly or indirectly), assigns, subsidiaries,

         direct and indirect equity holders, funds, portfolio companies, management companies, current, and

         former directors, officers, members, employees, partners, managers, independent contractors, agents,

         representatives, principals, professionals, consultants, financial advisors, attorneys, accountants,

         investment bankers, advisory board members, investment advisors, and other professionals, each in

         their capacity as such (collectively, in such capacity, the “Released Parties” and each a “Released

         Party”), from any and all claims, interests, obligations, rights, suits, damages, causes of action,

         remedies, and liabilities of every kind, nature and description whatsoever, which such Releasing Party

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         ever had, now has or may have on or by reason of any matter, cause or thing whatsoever to the Closing

         Date, including any derivative claims that such Releasing Party (or someone on its behalf) would have

         been legally entitled to assert, whether known or unknown, foreseen or unforeseen, existing or

         hereinafter arising, in law, equity, or otherwise, that such Releasing Party would have been legally

         entitled to assert in their own right (whether individually or collectively) or on behalf of a holder of

         any claim against a Releasing Party, based on or relating to, or in any manner arising from, in whole

         or in part, the Debtors, the purchase, sale, or rescission of the purchase or sale of any security of the

         Debtors, the subject matter of, or the transactions or events giving rise to, any claim, the Debtors’ in-

         or out-of-court restructuring efforts, intercompany transactions, the Sale, entry into the APA, the

         chapter 11 cases, the formulation, preparation, dissemination, negotiation, filing, or consummation of

         the Sale, the APA, or any restructuring transaction, contract, instrument, release, or other agreement

         or document created or entered into in connection with the Sale, the APA, the filing of these chapter

         11 cases, the pursuit of the Sale, or upon any other related act or omission, transaction, agreement,

         event, or other occurrence taking place on or before the Closing Date related or relating to the

         foregoing; provided that this paragraph 62 shall not affect the liability of any Releasing Party for claims

         or liabilities arising out of or relating to any act or omission of a Releasing Party that constitutes actual

         fraud, willful misconduct, or gross negligence, each solely to the extent as determined by a final order

         of a court of competent jurisdiction.

                 63.     Lender Releases. At (and immediately prior to) the Closing, the Debtors, on behalf

         of themselves, and on behalf of their past, present, and future successors and assigns (solely to the

         extent permitted under applicable law), (collectively, the “Debtor Releasors”), hereby, forever

         release, discharge and acquit the DIP Credit Parties and their respective successors and assigns,

         and their current and former shareholders, affiliates, subsidiaries, divisions, predecessors,

         directors, officers, partners, members, managers, attorneys, employees, consultants, advisors and


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         other representatives in their respective capacities as such (collectively, the “DIP Credit Party

         Releasees”) of and from any and all claims, demands, liabilities, responsibilities, disputes,

         remedies, causes of action, indebtedness and obligations, of every kind, nature and description,

         including, without limitation, any so-called “lender liability” claims or defenses, that Debtor

         Releasors had, have or hereafter can or may have against any DIP Credit Party Releasees as of the

         Closing, in respect of events that occurred on or prior to the Closing relating to any Debtor or any

         subsidiary thereof, the APA, the DIP Orders, the DIP Obligations or DIP Loan Documents, the

         Prepetition Secured Obligations, the Prepetition Credit Documents.

                64.      Failure of Approval. The failure specifically to include any particular provision of

         the APA including any of the documents, agreements, or instruments executed in connection

         therewith in this Sale Order shall not diminish or impair the efficacy of such provision, document,

         agreement, or instrument, it being the intent of the Court that the APA and each document,

         agreement or instrument be authorized and approved in its entirety.

                65.      Post‑Closing Claims Administration. After the Closing: (a) neither the Debtors

         nor any successor in interest, including any chapter 11 or chapter 7 trustee in these chapter 11

         cases or any successor chapter 7 cases, shall consent or agree to the allowance of any claim to the

         extent it would constitute an Assumed Liability or Permitted Encumbrance without the prior

         written consent of the Buyer; and (b) the Buyer shall have standing to object to any claim against

         the Debtors and their estates to the extent that, if allowed, it would constitute an Assumed Liability

         or Permitted Encumbrance, and the Court shall retain jurisdiction to hear and determine any such

         objections.

                66.      Liberty Mutual Insurance Company. Liberty Mutual Insurance Company (the

         “Surety”) executed certain surety bonds on behalf of certain of the Debtors (collectively, the



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         “Existing Surety Bonds”). These Existing Surety Bonds are issued pursuant to certain existing

         indemnity agreements and/or related agreements by and between the Surety, on the one hand, and

         the Debtors, on the other hand (collectively, the “Existing Indemnity Agreements” and, together

         with any Existing Surety Bond, the “Surety Agreements”).

                67.     Nothing in this Sale Order, the APA, or any document related to any of the

         foregoing shall be (a) construed to authorize or permit the Debtors’ assumption and/or assignment

         of any Surety Agreement or to obligate the Surety to replace any Existing Surety Bond in

         connection with the Sale, or (b) deemed to (i) provide the Surety’s consent to the substitution of

         any principal under any Existing Surety Bond or Existing Indemnity Agreement, and the Buyer

         shall not be deemed a substitute principal under any Existing Surety Bond or an indemnitor under

         any Existing Indemnity Agreement or (ii) alter, limit, expand, modify, release, waive or prejudice

         any rights, remedies and/or defenses of the Surety under the Surety Agreements or in connection

         with the Chapter 11 Cases.

                68.     Nothing in this Sale Order, the APA, or any document related to any of the

         foregoing shall be deemed to limit, impair, or prime Surety’s rights or interests, if any, in any

         letters of credit, or any other collateral or the proceeds of such collateral, securing existing surety

         bonds and existing indemnity agreements.

                69.     Chubb Companies. Notwithstanding anything to the contrary in the Motion, the

         APA, the Bidding Procedures, the Bidding Procedures Order, any cure notice or assumption notice,

         any lists of executory contracts to be assumed and assigned, this Sale Order, or any documents

         relating to any of the foregoing: (a) nothing shall permit or otherwise effect a sale, an assignment

         or any other transfer, without the express written consent of the Chubb Companies (as defined

         herein), of (i) any insurance policies that have been issued by ACE American Insurance Company,



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         Federal Insurance Company, ACE Property & Casualty Insurance Company, Westchester Surplus

         Lines Insurance Company, Indemnity Insurance Company of North America, Executive Risk

         Indemnity Inc., Chubb Atlantic Indemnity, Ltd., Great Northern Insurance Company, Chubb

         Custom Insurance Company, and/or any of their U.S.-based affiliates and predecessors

         (collectively, the “Chubb Companies”) to or that provide coverage to any of the Debtors (or their

         predecessors) and all agreements, documents or instruments relating thereto (collectively, the

         “Chubb Insurance Contracts”), and/or (ii) any rights, proceeds, benefits, claims, interests, rights to

         payments and/or recoveries under such Chubb Insurance Contracts to the Buyer; provided,

         however, that to the extent any claim with respect to the Assets arises that is covered by the Chubb

         Insurance Contracts, the Debtors may pursue such claim in accordance with the terms of the Chubb

         Insurance Contracts, and, if applicable, turn over to the Buyer any such insurance proceeds (each,

         a “Proceed Turnover”) and, further, Chubb Companies shall not have any duty to effectuate a

         Proceed Turnover or liability related to a Proceed Turnover.

                70.     Notice of Sale Closing. Within one Business Day of the occurrence of the Closing

         of the Sale, the Debtors shall file and serve a notice of the closing of the Sale.

                71.     Computation of Time Periods. All time periods set forth in this Sale Order shall be

         calculated in accordance with Bankruptcy Rule 9006(a).

                72.     Order Governs in Event of Inconsistencies. To the extent that this Sale Order is

         inconsistent with any prior order or pleading with respect to the Motion in these chapter 11 cases,

         the terms of this Sale Order shall govern. To the extent there are any inconsistencies between the

         terms of this Sale Order and the APA (including all ancillary documents executed in connection

         therewith), the terms of this Sale Order shall govern.




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                73.     Modification.     The APA and any related agreements, documents or other

         instruments may be modified, amended, or supplemented by the parties thereto in accordance with

         the terms thereof without further order of the Court.

                74.     Buyer Entities. The term “Buyer” as used in this Sale Order shall include any

         affiliate the Buyer designates to acquire particular assets in accordance with the terms of the APA.

                75.     Waiver of Stay. Notwithstanding the provisions of Bankruptcy Rules 6004(h),

         6006(d), or 7062 or any applicable provisions of the Local Rules, this Sale Order shall not be

         stayed following the entry hereof, but shall be effective and enforceable immediately upon entry,

         and the fourteen-day stay provided in Bankruptcy Rules 6004(h) and 6006(d) is hereby expressly

         waived and shall not apply.

                76.     Non-Severability. The provisions of this Sale Order as applied to the Buyer for the

         APA are nonseverable and mutually dependent.

                77.     Retention of Jurisdiction. The Court shall retain jurisdiction to, among other things,

         interpret, implement, and enforce the terms and provisions of this Sale Order and the APA, all

         amendments thereto, and any waivers and consents thereunder and each of the agreements

         executed in connection therewith to which the Debtors are a party or which has been assigned by

         the Debtors to the Buyer, and to adjudicate, if necessary, any and all disputes concerning or relating

         in any way to the Sale.




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                        EXHIBIT 1

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                        EXHIBIT 2

                         Cure Costs
